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DEBORAH L. FOX

                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEVADA

                                          :
DEBORAH L. FOX,                           :
                                            Civil Action No.: ______
                                          :
                    Plaintiff,            :
      v.                                  :
                                          :
OPPORTUNITY FINANCIAL, LLC,               :
                                            COMPLAINT
                                          :
                    Defendant.            :
                                          :
                                          :

      For this Complaint, the Plaintiff, DEBORAH L. FOX, by undersigned

counsel, states as follows:


                                 JURISDICTION
      1.     This action arises out of Defendant’s violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) by negligently,

knowingly, and/or willfully placing automated calls to Plaintiff’s cellular phone

without consent, thereby violating the TCPA.
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      2.     This action is also brought under Nevada Revised Statutes Chapter

598.0918 (“NRS 598”) and Nevada Revised Statutes Chapter 41.600 et seq. (“NRS

41.600”) for Defendant’s deceptive trade practices as further described herein.

      3.     Plaintiff alleges as follows upon personal knowledge as to Plaintiff

and Plaintiff’s own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

      4.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this

Court has original jurisdiction over Plaintiff’s TCPA claims. Mims v. Arrow Fin.

Serv., LLC, 132 S.Ct. 740 (2012).

      5.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiff resides within the District of Nevada, a substantial portion of

the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

                                      PARTIES
      6.     The Plaintiff, DEBORAH L. FOX (“Plaintiff” or “Mrs. Fox”), is an

adult individual residing in Las Vegas, Nevada.

      7.     Plaintiff is, and at all times mentioned herein was, a “person” as

defined by 47 U.S.C. § 153(39).

      8.     Defendant OPPORTUNITY FINANCIAL, LLC (“OPPORTUNITY

FINANCIAL”), is doing business in the State of Nevada.
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      9.     Defendant is and at all times mentioned herein was, a corporation and

is a “person,” as defined by 47 U.S.C. § 153 (39).

      10.    OPPORTUNITY FINANCIAL at all times acted by and through one

or more of its agents or representatives.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

      11.    In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

      12.    The TCPA regulates, among other things, the use of automated

telephone dialing systems.

      13.    47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system

(“ATDS”) as equipment having the capacity –

             (A) to store or produce telephone numbers to be called,
             using a random or sequential number generator; and

             (B)    to dial such numbers.
      14.    Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an

ATDS or an artificial or prerecorded voice to a cellular phone without prior

express consent by the person being called, unless the call is for emergency

purposes.

      15.    Such calls are prohibited because automated or prerecorded telephone

calls are a greater nuisance and invasion of privacy than live solicitation calls.
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      16.    Autodialed and prerecorded calls to a wireless number by a creditor,

or on behalf of a creditor, are permitted only if the calls are made with the “prior

express consent” of the called party.

      17.    A caller may not limit the manner in which revocation of prior express

consent to call may occur and that the burden is on the caller to prove it obtained

the necessary prior express consent.

      18.    Further, consumers (like Plaintiff) may revoke consent through any

reasonable means.

      19.    Nothing in the language of the TCPA or its legislative history

supports the notion that Congress intended to override a consumer’s common law

right to revoke consent.

      20.    Indeed, some consumers may find unwanted intrusions by phone more

offensive than home mailings because they can cost them money and because, for

many, their phone is with them at almost all times.

      21.    Consumers have a right to revoke consent, using any reasonable

method including orally or in writing.

              ALLEGATIONS APPLICABLE TO ALL COUNTS
      22.    Within the four years prior to filing the instant complaint, Plaintiff

received numerous calls from Defendant from the following phone number: (618)

433-3475.
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       23.     Upon information and belief, Defendant employs an automatic

telephone dialing system (“ATDS”) which meets the definition set forth in 47 U.S.C.

§ 227(a)(1).

       24.     Defendant or its agent/s contacted Plaintiff on Plaintiff’s cellular

telephone number ending in “1804” via an ATDS as defined by 47 U.S.C. §

227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A).

       25.     Moreover, Plaintiff believes the calls were made using a pre-recorded

voice, since messages left by Defendant on her cell phone were silent – as though

dialed by a machine – and a call center could be heard in the background, which

indicated her phone call was being automatically connected to an absent call center

employee – a “telltale” sign that these calls were being automatically dialed and

distributed as Defendant’s automated system detected a live phone on Plaintiff’s end

of the call.

       26.     “A predictive dialer is equipment that dials numbers and, when certain

computer software is attached, also assists [caller] in predicting when an [agent] will

be available to take calls. The hardware, when paired with certain software, has the

capacity to store or produce numbers and dial those numbers at random, in sequential

order, or from a database of numbers.” Meyer v. Portfolio Recovery Associates, LLC,

707 F.3d 1036, 1043 (9th Cir. 2012).
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        27.   Predictive dialing systems are a form of an automatic telephone dialing

system.

        28.   Upon information and belief, the predictive dialing system employed by

Defendant transfers the call to a live agent once a human voice is detected.

        29.   On or June 16, 2018, Plaintiff placed a call to Defendant and informed

Defendant that she retained an attorney and instructed Defendant (through the

representative she spoke with) to stop contacting her cell phone for any reason

thereby revoking consent, if any ever existed, to be contacted by Defendant via an

ATDS. She further provided Defendant’s live representative with her attorney’s

name and phone number.

        30.   Moreover, Defendant did not have prior express consent to place any

automated or prerecorded calls to Plaintiff on Plaintiff’s cellular telephone at any

time.

        31.   However, Defendant placed calls to Plaintiff’s cellular telephone

without consent using an ATDS in violation of the TCPA even after June 16, 2018.

Indeed, defendant dialed her cell phone dozens of times using an ATDS even after

she advised Defendant to cease calls and directed them to her attorney.

        32.   Defendant’s ATDS has the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.
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      33.    The telephone number that Defendant used to contact Plaintiff was and

is assigned to a cellular telephone service as specified in 47 U.S.C. §

227(b)(1)(A)(iii).

      34.    Defendant’s calls to Plaintiff’s cellular telephone were not for

“emergency purposes.”

      35.    The burden is on Defendant to demonstrate that it had prior express

consent to call Plaintiff’s cellular phone with an ATDS.

      36.    Plaintiff suffered actual harm and loss, since each of the unwanted calls

depleted Plaintiff’s cell phone’s battery, and the cost of electricity to recharge the

phone is a tangible harm. While small, this cost is a real one, and the cumulative

effect can be consequential, just as is true for exposure to X-rays resulting from

Defendant’s unwanted phone calls to Plaintiff’s cell phone.

      37.    Plaintiff also suffered from an invasion of a legally protected interest by

placing calls to Plaintiff’s personal phone line when Defendant had no right to do so,

resulting in an invasion of Plaintiff’s right to privacy. The TCPA protects consumers

from this precise behavior.

      38.    Plaintiff has a common law right to privacy. E.g., Samuel D. Warren &

Louis D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 1155, 193 (1890).

Congress sought to further protect that right by enacting the TCPA.

      39.    “[W]hen a person must endure the bother of unwanted calls in the
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privacy of her home, her harm is similar to other traditional injuries that courts have

long recognized, such as invasion of privacy and nuisance.” Toldi v. Hyundai

Capital Am., No. 2:16-CV—01877-APG-GWF, 2017 WL 736882, at *2 (D. Nev.

Feb. 23, 2017).

      40.    Plaintiff was also personally affected, since Plaintiff felt her privacy had

been invaded when Defendant placed calls to Plaintiff’s phone line without any

consent to do so.

      41.    The injury suffered by Plaintiff is concrete because Defendant’s

violations caused Plaintiff to suffer an invasion of privacy.

                                      COUNT I

                            Negligent Violations of the
                       Telephone Consumer Protection Act,
                             (47 U.S.C. § 227, et seq.)

      42.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      43.    Defendant negligently placed multiple automated calls to cellular

numbers belonging to Plaintiff without Plaintiff’s prior express consent.

      44.    Each of the aforementioned calls by Defendant constitutes a negligent

violation of the TCPA.

      45.    As a result of Defendant’s negligent violations of the TCPA, Plaintiff

is entitled to an award of $500.00 in statutory damages for each call in violation of
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the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      46.    Additionally, Plaintiff is entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.

                                     COUNT II

                    Knowing and/or Willful Violations of the
                     Telephone Consumer Protection Act,
                           (47 U.S.C. § 227, et seq.)

      47.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      48.    Defendant knowingly and/or willfully placed multiple automated calls

to cellular numbers belonging to Plaintiff without Plaintiff’s prior express consent.

      49.    Each of the aforementioned calls by Defendant constitutes a knowing

and/or willful violation of the TCPA.

      50.    As a result of Defendant’s knowing and/or willful violations of the

TCPA, Plaintiff is entitled to an award of treble damages up to $1,500.00 for each

call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

      51.    Additionally, Plaintiff is entitled to seek injunctive relief prohibiting

such conduct by Defendant in the future.
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                                   COUNT III

                       Defendant’s Violations of Nevada’s
                         Deceptive Trade Practices Act
                                (NRS 598.0918)

       52.   Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

       53.   “Solicitation” means “the act of . . . seeking to obtain” something – in

this case money. Solicitation, Black’s Law Dictionary (2d Pocket Ed. 2001).

       54.   Here, Defendant solicited Plaintiff to seek or obtain money from

Plaintiff.

       55.   On March 13, 2001, Assembly Bill 337 (AB 337) was introduced to

the Nevada State Legislature. AB 337 revised Nevada’s Deceptive Trade Practices

statutes codified at NRS 598 et seq.

       56.   As expressed by Marilyn Skibinski, Regulatory Analyst, Bureau of

Consumer Protection, AB 337 was enacted to “provide[] additional protection for

consumers.” See Minutes of the Meeting of the Assembly Committee on Commerce

and Labor, 71st Session, April 4, 2001, page 1082, which can be viewed at

http://www.leg.state.nv.us/Division/Research/Library/LegHistory/LHs/2001/AB33

7,2001.pdf (the “AB 337 Minutes”).

       57.   Further, AB 337 was specifically intended to apply to companies (like

Defendant) using “automatic calling” or automated dialing systems. As Ms.
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Rushton stated in response to Senator Maggie Carlton, “[that] is exactly what [AB

337 is intended to do.” Id. at page 4093.

      58.    In specific, AB 337 made it a deceptive trade practice to, during a

solicitation by telephone, to repeatedly or continuously conduct the solicitation or

presentation in a manner that is considered by a reasonable person to be annoying,

abusive or harassing.

      59.    Defendant repeatedly and continuously placed telephone calls to

Plaintiff’s residential phone (which is also Plaintiff’s cellular phone) to solicit

money from Plaintiff in a manner that would be considered annoying, abusive or

harassing by a reasonable person.

      60.    Specifically, Defendant placed dozens of calls to Plaintiff’s cell phone

in just a few weeks even after Plaintiff demanded Defendant cease calls to Plaintiff

and instructed Defendant to communicate with her counsel. Such conduct is

unquestionably harassing and annoying.

      61.    As a direct consequence of Defendant’s harassing phone calls, acts,

practices and conduct, Plaintiff suffered and continues to suffer from anger,

anxiety, emotional distress, frustration, rage, headaches, an upset stomach, heart

palpitations, and has otherwise been totally annoyed by Defendant’s intrusive and

illegal phone calls. Plaintiff has also lost the use of personal and family time while

enduring these frustrations, as well as lost time and minutes from cell phone use,
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for which Plaintiff is charged a fee.

      62.      Defendant’s violations of NRS 598.0918 constitute violations of NRS

41.600 and Plaintiff is entitled to relief under NRS 41.600.

                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Defendant

awarding Plaintiff:

            1. Injunctive relief prohibiting such violations of the TCPA by Defendant

               in the future;

            2. Statutory damages of $500.00 for each and every call in violation of the

               TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

            3. Treble damages of up to $1,500.00 for each and every call in violation

               of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

            4. Actual damages including, but not limited to, the emotional distress

               Plaintiff has suffered (and continues to suffer) as a result of the

               intentional, reckless, and/or negligent violations of NRS 598.0918 as

               permitted under NRS 41.600;

            5. An award of attorney’s fees and costs to counsel for Plaintiff; and
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       6. Such other relief as the Court deems just and proper.

           TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: September 7, 2018

                                    Respectfully submitted,

                                    By /s/ David H. Krieger, Esq.

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